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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
STUART FORCE individually and as personal
representative of the ESTATE OF TAYLOR FORCE;
ROBBI FORCE; KRISTIN ANN FORCE; RINA ARIEL
individually, as personal representative of the ESTATE
OF H.Y.A. (a minor), and as guardian of S.R.A. and K.A.
(minors); AMICHAI ARIEL individually, as personal
representative of the ESTATE OF H.Y.A. (a minor), and
as the guardian of S.R.A. and K.A. (minors); ELI M.
BOROCHOV; SHARI MAYER BOROCHOV; RONEN                                    Case No. 1:20-cv-2578-BMC
STEVEN BOROCHOV; DEVORA SUE BOROCHOV;
JOSEF S. BOROCHOV; SHIRA NECHAMA
BOROCHOV; AVRAHAM M. BOROCHOV;
ABRAHAM RON FRAENKEL, individually, as personal
representative of the ESTATE OF Y.N.F. (minor), and as
guardian of A.H.H.F., A.L.F., N.E.F., N.S.F., and S.R.F.
(minors); RACHEL DEVORA SPRECHER
FRAENKEL, individually, as personal representative of
the ESTATE OF Y.N.F. (minor), and as guardian of
A.H.H.F., A.L.F., N.E.F., N.S.F., and S.R.F. (minors);
TZVI AMITAY FRAENKEL; YEHUDAH GLICK,
individually and as guardian of S.G. (minor); YAFFA
GLICK individually and as guardian of S.G. (minor);
NERIA DAVID GLICK; SHLOMO GLICK; HALLEL
GLICK; MICAH LAKIN AVNI, individually, as
personal representative of the ESTATE OF RICHARD
LAKIN, and as guardian of Y.L, R.A., and V.A. (minors);
MANYA LAKIN, individually, as personal representative
of the ESTATE OF RICHARD LAKIN, and as guardian
of D.A.B. (minor); RITA AVNI, individually and as
guardian of E.A., R.A., and V.A. (minors); SHACHAR
BOTEACH; SHMUEL ELIMELECH BRAUN
individually and as personal representative of the
ESTATE OF C.Z.B. (minor); CHANA BRAUN
individually and as personal representative of the
ESTATE OF C.Z.B. (minor); SHIMSON SAM
HALPERIN; SARA HALPERIN; MURRAY BRAUN;
ESTHER BRAUN; MENACHEM MENDEL RIVKIN,
individually and as guardian of S.S.R., M.M.R., R.M.R.,
S.Z.R., and S.R. (minors); BRACHA RIVKIN,
individually and as guardian of S.S.R., M.M.R., R.M.R.,
S.Z.R., and S.R. (minors);
YOAV GOLAN; ROTEM SHOSHANA GOLAN;
YEHUDIT GOLAN; MATAN GOLAN; CICI
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 JACOBSON; EDDY JACOBSON; RAPHAEL (“RAFI”)
 LISKER, individually and as guardian of D.Z.L. (minor);
 SHOSHANA LISKER, individually and as guardian of
 D.Z.L (minor); JONATHAN ISSAC LISKER; AVITAL
 KEREM LISKER; TAMAR PENINA LISKER; NOAM
 MICHAEL SHAMBA, individually and as guardian of
 H.S., T.M.S., O.S., M.S., N.E.S. and N.S. (minors);
 YANA SHAMBA, individually and as guardian of H.S.,
 T.M.S., O.S., M.S., N.E.S. and N.S. (minors),
                                   Plaintiffs,
                            -against-
 QATAR CHARITY; QATAR NATIONAL BANK and
 MASRAF AL RAYAN,
                                   Defendants.
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    REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTERS ROGATORY)

        The United States District Court for the Eastern District of New York, presents its

compliments to the Appropriate Judicial Authority of the State of Qatar, and requests

international judicial assistance to effect service of process to be used in a civil proceeding

before this Court in the above captioned matter.


        This Court requests the assistance described herein as necessary in the interests of justice.

The assistance requested is that the Appropriate Judicial Authority of the State of Qatar effect

service of process upon the below named defendant, which is an entity incorporated under Qatari

law:


Masraf Al Rayan
Grand Hamad Street, Street # 119
Building # 78, Room 5
Doha,
Qatar




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       The documents to be served are as follows: (1) a certified copy of the Amended

Summons in a Civil Case issued by the Clerk of the United States District Court for the Eastern

District of New York on September 10, 2020, and an Arabic language translation of same; and

(2) a certified copy of the Complaint filed in the United States District Court for the Eastern

District of New York on June 10, 2020, and an Arabic language translation of same.


       This Request for Judicial Assistance is brought by the Plaintiffs, who are United States

citizens who seek monetary damages from Defendant Masraf Al Rayan pursuant to the following

United States laws: 18 United States Code Sections 2333(a) and (d), 2339A and 2339B, and

Section 2b of the Justice Against Sponsors of Terrorism Act. The Plaintiffs allege that

Defendant conspired with others to provided material support to organizations designated by the

United States Government as Foreign Terrorist Organizations, which organizations killed and

injured Plaintiffs and their family members in terrorist attacks.


       This Court states that it shall provide similar assistance to the Appropriate Judicial

Authority of the State of Qatar.


       This Court states that it shall compel Plaintiffs to reimburse the State of Qatar for the

expenses it incurs in the execution of this International Judicial Assistance (Letters Rogatory).


Dated: September ____, 2020


                                                      ________________________________
                                                      Brian M. Cogan
                                                      Judge, United States District Court
                                                      Eastern District Of New York




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